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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DISTRICT

 MARK W. DOBRONSKI,                       )
                                          )
                            Plaintiff,    )
                                          ) Case No. 2:24-cv-12807
 v.                                       )
                                          ) Hon. Judge Gershwin A. Drain
 IDEAL CONCEPTS, INC., DAVID              ) Hon. Magistrate Kimberly G. Altman
 BENJAMIN GARCIA, and                     )
 MICHAEL JOSE ZUNIGA,                     )
                                          )
                            Defendants.

      DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                TO ANSWER OR OTHERWISE PLEAD

        Defendants Ideal Concepts, Inc., David Benjamin Garcia, and Michael Jose

Zuniga (“Defendants”) by and through undersigned counsel and pursuant to Federal

Rule of Civil Procedure 6(b), hereby move unopposed for an extension of time

through December 15, 2024 to respond to Plaintiff’s Complaint, and in support

thereof state as follows:

        1.   On October 24, 2024, Plaintiff Mark W. Dobronski (“Plaintiff”)

initiated this civil action against Defendants. Defendants Ideal Concepts, Inc. and

Michael Jose Zuniga were served on October 25, 2024. Defendant David Benjamin

Garcia was served on October 26, 2024.

        2.   Pursuant to Federal Rule of Civil Procedure 12(a), Defendants Ideal

Concepts, Inc. and Michael Jose Zuniga’s deadline to file their responsive pleading
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is November 15, 2024. See Fed. R. Civ. P. 12(a)(1)(A). Defendant David Benjamin

Garcia’s deadline to file his responsive pleading is November 18, 2024. See id.

      3.     Defendants are investigating the allegations in the Complaint, which

investigation is critical to determining how Defendants will respond to the complex

and extensive 31 page Complaint. Further, the outcome of Defendants’ investigation

will enable counsel for Defendants to have a more productive preliminary discussion

regarding this case with Plaintiff.

      4.     Counsel for Defendants contacted Plaintiff to determine whether

Plaintiff opposed Defendants’ requested extension. Plaintiff confirmed that he does

not oppose or contest Defendants’ request.

      5.     Defendants thus respectfully request that this Court extend the deadline

for Defendants’ responsive pleading to December 15, 2024.

      6.     This is Defendants’ first request for an extension and this Motion is not

being made for purposes of delay or any improper purpose.

      WHEREFORE, Defendants respectfully request that this Court enter an order

(i) permitting Defendants until December 15, 2024 to file a responsive pleading to

Plaintiff’s Complaint; and (ii) awarding all other relief deemed equitable and just.




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Dated: November 12, 2024           Respectfully submitted,


                                   /s/ Jamie N. Ward

                                   Jamie N. Ward
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                                   Counsel for Defendants




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 12, 2024, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the

Court’s electronic filing system.




                                       /s/ Jamie N. Ward




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